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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-cv-05944-JST
                                   7     ANTITRUST LITIGATION
                                   8
                                                                                           ORDER DENYING INDIRECT
                                   9                                                       PURCHASER PLAINTIFFS'
                                                                                           ADMINISTRATIVE MOTION TO FILE
                                  10                                                       DOCUMENTS UNDER SEAL

                                  11                                                       Re: ECF No. 5583

                                  12          Given the passage of time, the business dealings of the cathode ray tube market are not
Northern District of California
 United States District Court




                                  13   confidential. Accordingly, the Court denies Indirect Purchaser Plaintiffs’ motion to seal portions
                                  14   if its proposed Second Amended Class Action Complaint Against Thomson and TDA Defendants.
                                  15          IT IS SO ORDERED.
                                  16   Dated: September 24, 2019
                                  17                                                   ______________________________________
                                                                                                     JON S. TIGAR
                                  18                                                           United States District Judge
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